
Simon, J.
delivered the opinion of the court.
The defondant, Therese Palmer, is sued as indorser of a promissory note, which is shown to have been indorsed by the husband as her agent. Her said husband is also made a party to this suit.
She first pleads the general issue, and avers that the note sued on was not indorsed by her, nor by any one authorized by her to do so. There was judgment in the court below for the plaintiff, and she appealed.
Prom the production of a power of attorney, passed on the 14th of October, 1886, it appears that the defendant being separated in property from her husband, constituted and appointed him her attorney in fact, general and special, for the purpose of conducting, managing and transacting her affairs, business or concerns of whatever nature; and among other powers, to make *652and indorse promissory notes in her name, &amp;c. This is clearly a sufficient authorization ; and in the absence of any other defence, we must conclude that she is bound by the indorsement executed by her husband in her name.
It is therefore ordered, adjudged and decreed, that the judgment of the parish court be affirmed, with costs.
